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 10
                          UNITED STATES DISTRICT COURT
 11
                        CENTRAL DISTRICT OF CALIFORNIA
 12

 13   OCM GROUP USA INC.                         Case No. 2:19-CV-08917-SB (KSx)
 14
                  Plaintiff,                     [proposed] ORDER GRANTING
 15
                                                 FILING UNDER SEAL
 16         vs.
 17
      LIN’S WAHA INTERNATIONAL
 18   CORP, a New York corporation; and
 19   DOES 1 - 10,
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                  Defendants.
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Case 2:19-cv-08917-SB-KS Document 33-5 Filed 02/11/21 Page 2 of 2 Page ID #:676



  1
              GOOD CAUSE having been shown,
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              Applicant shall file the documents UNDER SEAL:
  3

  4
              Exhibit 5 (Confidential AEO designated):
  5
                   Plaintiffs’ purchase cost document (OCM-002)
  6           Exhibit 6 (Confidential AEO designated):
  7                Plaintiff’s sales price documents (OCM-003 - 006)
  8           Exhibit 7 (Confidential AEO designated):
  9                Plaintiff’s damages computation (OCM-001)
 10           Exhibit 10 (Confidential AEO designated):
 11                Plaintiff’s sales of the Branded Products produced via Excel files
 12                (filed via lodging of a CD-ROM)
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 15   Date:
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 19                                                 Stanley Blumenfeld Jr.
                                                    United States District Judge
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